Case 8:21-cv-01573-WFJ-AEP Document 65 Filed 08/04/22 Page 1 of 3 PageID 1542




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                             CASE NO.: 8:21-CV-01573-WFJ-AEP

ECOM PRODUCTS GROUP
CORPORATION, a Florida-For-Profit
Corporation,
             Plaintiff,
vs.

MICHAEL COX, an individual,

            Defendant.
___________________________________/

                    PLAINTIFF’S MOTION TO STAY PROCEEDINGS

       Plaintiff, ECOM Products Group Corporation (“Plaintiff”), respectfully requests this Court

to stay all proceedings in this case pending the resolution of the Amended Motion to Withdraw as

Counsel for Plaintiff (the “Amended Motion to Withdraw”) [DE 64], and in support thereof state

as follows:

       The Amended Motion to Withdraw was filed on August 1, 2022. Peter T. Mavrick, Esq.,

Nathan A. Kelvy, Esq., Jordan D. Utanski, Esq., and the Mavrick Law Firm and its attorneys

(collectively, “Counsel”) are seeking to withdraw as counsel for Plaintiff pursuant to Local Rule

2.03. and 3.01(g) of the Middle District of Florida, and Rule 4-1.16(b) of the Rules Regulating the

Florida Bar. Counsel for Defendant, Michael Cox (“Defendant”), have advised that Defendant

does not oppose the withdrawal of Counsel for Plaintiff, but opposes any extension of deadlines

that would further delay this case.

       On May 18, 2022, the Court entered an Order which, inter alia, extended Plaintiff’s

deadline to respond to Defendant’s Motion for Summary Judgment to August 8, 2022 [DE 57].


                                                1
Case 8:21-cv-01573-WFJ-AEP Document 65 Filed 08/04/22 Page 2 of 3 PageID 1543




Trial in this matter is set for February 6, 2023, and the Dispositive Motion Deadline is September

16, 2022.

       “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes of its docket with economy of time and effort for itself, for

counsel, and for litigants. How this can best be done calls for the exercise of judgment, which must

weigh competing interests and maintain an even balance.” Landis v. N. Am. Co., 299 U.S. 248,

254-55 (1936). Courts enjoy broad discretion in deciding how to regulate discovery and manage

the cases before them. Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1366 (11th Cir. 1997);

see Patterson v. U.S. Postal Serv., 901 F.2d 927, 929 (11th Cir. 1990).

       Defendant has filed his Motion for Summary Judgment, which is pending a response from

Plaintiff. Therefore, Defendant will not be required to expend additional resources due to the

withdrawal of Counsel. Moreover, Defendant does not object to the withdrawal of Counsel, just

any extensions that will further delay this matter. Therefore, there will be no prejudice to

Defendant if this matter is stayed pending the resolution of the Motion to Withdraw.

       WHEREFORE, the Plaintiff respectfully requests that this Court enter an order staying

all proceedings in this case pending the resolution of the Amended Motion to Withdraw.

                          LOCAL RULE 3.01(g) CERTIFICATION
       Pursuant to Local Rule 3.01(g), I hereby certify that counsel for the movant has conferred
with all parties or non-parties who may be affected by the relief sought in this motion. Undersigned
counsel conferred with counsel for Defendant, Sean W. Shirley and Geremy W. Gregory, who
confirmed that Defendant has no objection to the withdrawal of Counsel but opposes any further
delay in this matter.
                                              BY: /s/ Nathan A. Kelvy
                                                      Nathan A. Kelvy




                                                 2
Case 8:21-cv-01573-WFJ-AEP Document 65 Filed 08/04/22 Page 3 of 3 PageID 1544




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing was served by means of the Court’s

electronic filing system on August 4, 2022 on all counsel of record, including Defendant’s counsel,

Geremy W. Gregory, Esq., ggregory@balch.com; Chris Anulewicz, Esq., canulewicz@balch.com,

and Sean W. Shirley, Esq., sshirley@balch.com.



                                             Respectfully submitted,

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                                             BY: /s/ Nathan A. Kelvy
                                             Peter T. Mavrick
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